Case: 1:22-cv-01291 Document #: 1-5 Filed: 03/10/22 Page 1 of 5 PageID #:42




                     Exhibit E
                    Case:
earing Date: No hearing     1:22-cv-01291
                        scheduled                         Document #: 1-5 Filed: 03/10/22 Page 2 of 5 PageID #:43
ocation: <<CourtRoomNumber>>
Jdge: Calendar, 3
                    This form is approved         by the Illinois Supreme    Court and is required to be accepted in all linoig@ircpjt
                                                                                                                                       Courts.
                    STATE         OF ILLINOIS                                                                        far Cow 52/8/2022       12:16 PM
                        CIRCUIT COURT                                          SUMMONS                                           IRIS Y.
                                                                                                                                 CIRCUITMARTINEZ
                                                                                                                                          CLERK
             Cook                                                                                                                COOK COUNTY, , IL
               2                    =]     ous
                                                                                                                                 2022CH01062
                        ;
            Instructions v                                                                                                       Calendar, 3
                                                                                                                                 16618927
         Enter above the
         county name where
         the case was filed.             ATHENA BITCOIN GLOBAL
         Enter your name as               Plaintiff / Petitioner (First, middle, last name)
         Plaintiff/Petitioner.
         Enter the names of all
         people you are suing as          Vv.
         Defendants/
         Respondents.
         Snir Ars                        SHAUN OVERTON IN OFFICIAL & PERSONAL CAPACIT                                 2022CH01062
         Number given by the             Defendant / Respondent        (First, middle, last name)                   Case Number
         Circuit Clerk.


         In 1, if your lawsuit is         1.     Information about the lawsuit:
        for money, enter the
        amount of money you                     Amount claimed:             $ 3,000,000.00
        seek from the
        Defendant/                              Contact information for the Plaintiff/Petitioner:
        Respondent.
                                                Name (First, Middle, Last): ATHENA BITCOIN GLOBAL
        In 2, enter your                        Street Address, Apt #:     1332 N. HALSTED ST., SUITE 401
        contact information.
        If more than 1 person                   City, State, ZIP:    CHICAGO, IL 60642
        is bringing this                        Telephone:     (312) 690-4466
        lawsuit, attach an
                                                See attached for additional Plaintiff/Petitioner contact information
        Additional
        Plaintiff/Petitioner
        Contact Information                     Contact information for the Defendant/Respondent:
        form.                                   Name (First, Middle, Last): SHAUN OVERTON IN OFFICIAL &
                                                                                                        PERSONAL                      CAPACITY ASD
        In 3, enter the name of                 Street Address, Apt#:      615 W Harwood Rd.
        the person you are
        suing and their                         City, State, ZIP:    HURST, TX 76054
       address.                                 Telephone:    (817) 714-6929
       If more than 1 person is
                                                See attached for additional Defendant/Respondent contact informat
       being sued, attach an                                                                                      ion
       Additional
       Defendant/Respondent
       Contact Information
       form.




                                                   You have been sued.
                                                   Follow the instructions on the next page on how to appear/answer.
                                                         °  If you do not appear/answer the court may decide the case without
                                                                                                                                  hearing from you and
                                                            enter a judgment against you for what the plantiff/petitioner is asking,
      Important Information for the
      person receiving this form:                       °   Your written appearance/answer must be filed on time and in
                                                                                                                            the proper form.
                                                        o   Forms for a written appearance/answer are available here:
                                                            hitp://www.illinoiscourts.gov/forms/approved/default asp
                                                  If you cannot afford to pay the fee for filing your appearance/ans
                                                                                                                     wer, ask the circuit clerk for an
                                                  application for waiver of court fees.
                                                  You should read all of the documents attached.




      SU-S 1503.1                                                            Page   1 of 4
                                                                                                                                                (09/18)
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                                                                 Enter the Case Number given by the Circuit Clerk:

   In 4, the Circuit Clerk      4.     Instructions for person receiving this form (Defendant/Respondent):
   will give you the court
   date or appearance
                                       To respond to this Summons you must:
   date, check any boxes               [J     Goto court:
   that apply, and include
                                              On this date:                                    at this time:                          am.   [CJ] p.m.
   the address of the
   court building and                         Address:                                                               Court Room:
   room where the                             City, State, ZIP:
   Defendant/
   Respondent must file
   their response.
                                      []      File a written Appearance and Answer/Response with the court:
                                              On or before this date:              at this time:                                   J a.m.       p.m.
                                              Address:
                                              City, State, ZIP:

                                      [/]    File a written Appearance and Answer/Response with the court within 30 days
                                                                                                                         from
                                             the day you receive this Summons (listed below as the “Date of Service”).
                                             On this date:                                    at this time:                          a.m.       p.m.
                                             Address:
                                             City, State, ZIP:      CHICAGO, IL


           STOP!                                                  2/8/2022 12:16 PM IRIS Y. MARTINEZ
                               Witness      this Date:
  The Circuit Clerk will
  fill in this section.
                               Clerk of the Court:




          STOP!               This Summons          must be served within 30 days of its date, listed above.
 The officer or process
 server will fill in the
 Date of Service,
                              Date of Service:
                                                     (Date to be entered by an officer or process server on the copy of this
                                                                                                                             Summons left
                                                     with the Defendant/Respondent or other person.)



                             To serve this Summons, you must hire the sheriff (or a private process server outside
                                                                                                                    of Cook County) to
                             deliver it and your Complaint/Petition to the Defendant/Respondent. If the sheriff
                                                                                                                 (or private process
                             server outside of Cook County) tries but can't serve the Summons, fill out another
 Plaintiff/Petitioner:       process.                                                                            summons and repeat this




                             E-Filing is now mandatory for documents in civil cases with limited exemptions. To
                                                                                                                      e-file, you must first
        Attention:           create an account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm
                     :       to learn more and to select a service provider. If you need additional help or have
                                                                                                                   trouble e-filing, visit
                             http://www illinoiscourts.gov/faq/gethelp.asp. or talk with your local circuit clerk's office.




SU-S   1503.1                                                         Page 2 of 4
                                                                                                                                            (09/18)
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              This form is approved         by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.

              STATE       OF ILLINOIS,                                                                                 Fer Cont    Us   Only
               CIRCUIT COURT                                    AFFIDAVIT OF SERVICE                   OF
                                                                      SUMMONS AND
     Cook                        COUNTY                            COMPLAINT/PETITION

       Instructions
  Enter above the
  county name where
  the case was filed.           ATHENA BITCOIN GLOBAL
  Enter your name as             Plaintiff / Petitioner (First, middle, last name)
  Plaintifl/Petitioner.
  Enter the name of the
  person you are suing as        V.
  Defendant/Respondent.
  Enter the Case                SHAUN OVERTON                  IN OFFICIAL & PERSONAL CAPACITY
  Number given by the            Defendant / Respondent            (First, middle, last name)                          Case Number
  Circuit Clerk.



                                 **Stop. Do not complete the form. The sheriff will fill in the form.**

  DO NOT complete                My name is                                                                                       and | swear under oath
  this section. The                                     First, Middle, Last
  sheriff will complete
  it.                            that | served the Summons and Complaint/Petition on the Defendant/Respondent


                                                                                                                  as follows:
                                 First, Middle, Last


                                         [J     Personally on the Defendant/Respondent:
                                                Male:      []       Female:      [7]      Approx. Age:                   Hair Color:
                                                Height:                   Weight:
                                               On this date:                                      at this time:                          (Jam.    [Jp.m.
                                               Address:
                                               City, State, ZIP:

                                      [J       Atthe Defendant/Respondent’s home:
                                               On this date:                      at this time:                                         (Jam.    Jp.m.
                                               Address:
                                               City, State, ZIP:
                                               And left it with:
                                                                       First, Middle, Last
                                               Male:      []       Female:      []         Approx. Age:
                                               and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                                               above address on                        , 20

                                      [C]      On the Corporation's agent,
                                                                                        First, Middle, Last
                                               On this date:                                     at this time:                          Jam.     Jp.m.
                                              Address:
                                              City, State, ZIP:




SU-S 1503.1                                                               Page 3 of 4                                                               (09/18)
               Case: 1:22-cv-01291 Document #: 1-5 Filed: 03/10/22 Page 5 of 5 PageID #:46

                                            Enter the Case Number given by the Circuit Clerk:
   DO NOT complete       By:
   this section. The
   sheriff, or private
   process server will
   complete it.          Signature                                        FEES

                                                                         By certified/registered   $
                                                                         Service and Return        $
                         Print Name                                      Miles:                    3

                                                                         Total       $




SU-S 1503.1                                      Page 4 of 4
                                                                                                       (09/18)
